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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

___________________________________ X
UNITED STATES OF AMERICA
V' : Affirmation in Support cf
l Application for an Order of
KEVIN WATSON' Continuance
17 Mag. 7820
Defendant. .
___________________________________ X

State of New York )
County of New York : ss..
Southern District of New York )

Michael C. McGinnis, pursuant to Titie 28, United
States Code, Section 1746, hereby declares under penalty of
perjury:

l. I am an Assistant United States Attorney in the
Office of Joon H. Kim, Acting United States Attorney for the
Southern District of New York. f submit this affirmation in
support of an application for an order of continuance of the
time within which an indictment or information would otherwise
have to be filed, pursuant to 18 U.S.C. § 3161(h)(7)(A). gun

. “uq bn

2. The defendant was arrested in the Southern

District of New York on October 20, 2017, and was charged with

violations of 18 U.S.C. §§ 1349 and 1028A in a complaint dated

October 20, 2017. The defendant was presented before Magistrate

 
 
 

Judge Sarah Netburn on August 21, 2017.

-.- W..=,,`~»~L.-\»`,“.
M. mwm-<_¢ .._.… ,,

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detained on consent. Jack Goldberg, esq. was subsequently
retained as defense counsel.

3. Subsequent to the initial presentment, defense
counsel consented to a waiver of his client's right, pursuant to
Rule 5.1 of the Federal Rules of Criminal Procedure, to a
preliminary hearing within 30 days of the initial appearance.
Accordingly, under the Speedy Trial Act, the Government
initially was required to file an indictment or information on
or before November 20, 2017.

4. Jack Goldberg, esq., counsel for the defendant,
and I have discussed a possible disposition of this case. The
negotiations have not been completed, and we plan to continue
our discussions but do not anticipate a resolution before the
deadiine under the Speedy Trial Act expires on November 20,
2017.

5. Therefore, the Government is requesting a
continuance until December 20, 2017, to continue the foregoing
discussions and reach a disposition of this matter. I
personally communicated with Mr. Goldberg, and the defendant,

through counsel, consents to this request.

 

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6. For the reasons stated above, the ends of justice
served by the granting of the requested continuance outweigh the

best interests of the public and defendant in a speedy trial.

Dated: New York, New York
November 20, 2017

 

 

Michael C. McGinnis
Assistant United States Attorney
(212) 637-2305

 

